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 9

10
                          UNITED STATES DISTRICT COURT

11                       CENTRAL DISTRICT OF CALIFORNIA
12
      JOHN JACOBS,                                   ) Case No. CV13 06822 MWF (JCGx)
13
                                                     )
14                      Plaintiff,                   )
15
                                                     ) ORDER DISMISSING ENTIRE
            vs.                                      ) ACTION WITH PREJUDICE
16                                                   )
17    NCO FINANCIAL SYSTEMS, INC.                    )
      and DOES 1 through 10, inclusive,              )
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                                                     )
19                      Defendant.                   )
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                              Stipulation to Dismiss Entire Action with Prejudice

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 1
            Based on the Stipulation to Dismiss Entire Action with Prejudice by Plaintiff
 2
      John Jacobs and Defendant NCO Financial Systems, Inc., the above-captioned
 3

 4    action is hereby dismissed in its entirety with prejudice. Each side will bear their
 5
      own fees and costs.
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 7          IT IS SO ORDERED.
 8

 9    Dated: October 18, 2013             ________________________________
10
                                          HON. MICHAEL W. FITZGERALD
                                          UNITED STATES DISTRICT JUDGE
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                                Stipulation to Dismiss Entire Action with Prejudice

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